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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 KAYLA DIONNE LEWIS, et. al.,

                Plaintiffs,

                         v.
                                                     Civil Action No. 15-352 (RBW)
 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, et al.,

                Defendants.




                    DEFENDANT’S MOTION FOR ENLARGEMENT

       Pursuant to Federal Rule of Civil Procedure 6(b), Defendant the United States Attorney’s

Office for the District of Columbia (“USAO-DC”), by and through the undersigned counsel,

respectfully moves the Court for a two-month extension of time, until July 17, 2018, to respond

to Plaintiffs’ Third Amended Complaint. This is Defendants’ first request to extend its deadline

to respond to Plaintiffs’ Complaint. The Parties have conferred pursuant to Local Rule 7(m) and

Plaintiffs’ counsel and co-Defendant’s counsel, the Office of the Attorney General for the

District of Columbia, have stated that their clients do not oppose the relief requested in this

Motion.


       There is good cause to grant the requested extension. Defendant USAO-DC’s current

deadline to respond to Plaintiff’s Third Amended Complaint is May 18, 2018. According to the

Complaint, Plaintiffs seek to hold the District of Columbia liable for alleged violations of their

and other class members’ Fourth and Fifth Amendment rights. See Third Amended Complaint,
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 Docket No. 56, at 21-28.    Having recently been assigned to the above-captioned matter, the

 undersigned requires additional time to review the pleadings and orders filed in the over three

 years of litigation in this case before the federal Defendant can determine how to respond to

 Plaintiffs’ Third Amended Complaint. That work has begun, but will not be completed by May

 18, 2018.


       For the foregoing reasons, the federal Defendant respectfully requests that the deadline to

respond to Plaintiffs’ Complaint be extended to July 17, 2018.


May 14, 2018                                 Respectfully submitted,

                                             JESSIE K. LIU
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                                             United States Attorney

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                                             D.C. Bar No. 924092
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